DENIED and Opinion Filed August 19, 2024




                                    S  In The
                             Court of Appeals
                      Fifth District of Texas at Dallas
                                No. 05-24-00902-CV

    IN RE KRISTOPHER GENE GUILLAUME, ALAN E. DEVOE, AND
                 SYLVIA J. GUILLAUME, Relators

           Original Proceeding from the County Court at Law No. 2
                            Dallas County, Texas
                    Trial Court Cause No. CC-24-00774-B

                        MEMORANDUM OPINION
                  Before Justices Pedersen, III, Smith, and Garcia
                         Opinion by Justice Pedersen, III
      In their July 31, 2024 petition for writ of mandamus, relators contend the

judgment in the underlying case is void for various reasons.

      Upon review, relators’ petition does not meet the requirements of the Texas

Rules of Appellate Procedure for consideration of mandamus relief. See In re

Backusy, No. 05-23-00674-CV, 2023 WL 4540278, at *1 (Tex. App.—Dallas July

14, 2023, orig. proceeding) (mem. op.); see also TEX. R. APP. P. 52.2, 52.3(a),

52.3(d), 52.3(e), 52.3(g), 52.3(h), 52.3(j), 52.3(k)(1)(A), 52.7(a)(1), 52.7(a)(2). For

example, the person filing the petition failed to certify that he or she has reviewed

the petition and concluded that every factual statement in the petition is supported
by competent evidence included in the appendix or record, as required by rule

52.3(j). See TEX. R. APP. P. 52.3(j); In re Stewart, No. 05-19-01338-CV, 2020 WL

401764, at *1 (Tex. App.—Dallas Jan. 24, 2020, orig. proceeding) (mem. op.)

(explaining that our precedent requires “exceptionally strict compliance” with rule

52.3(j)). Additionally, the documents included in the appendix and record are not

properly certified or sworn copies. See TEX. R. APP. P. 52.3(k)(1)(A), 52.7(a)(1);

In re Leonard, No. 05-23-00546-CV, 2023 WL 3944376, at *1 (Tex. App.—Dallas

June 12, 2023, orig. proceeding) (mem. op.) (explaining how to obtain properly

certified or sworn copies).

      Accordingly, we deny the petition for writ of mandamus.




                                          /Bill Pedersen, III/
                                          BILL PEDERSEN, III
240902F.P05                               JUSTICE




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